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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
                                     _
                                       )
U.S. SECURITIES AND EXCHANGE           )
COMMISSION,                            )
                                       )
                      Plaintiff,       )     Civil Action No.
                                       )
                 v.                    )     18-CV-5587
                                       )
EQUITYBUILD, INC., EQUITYBUILD         )
FINANCE LLC, JEROME H. COHEN, and      )
SHAUN D. COHEN,                        )
                                       )
                      Defendants.      )
                                       )

              PLAINTIFF’S MEMORANDUM IN SUPPORT OF ITS
       EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER
       TO PREVENT VIOLATIONS OF THE FEDERAL SECURITIES LAWS,
   TO APPOINT A RECEIVER, AND PROVIDE FOR OTHER ANCILLARY RELIEF

       Plaintiff U.S. Securities and Exchange Commission (“SEC”) respectfully submits this

memorandum in support of its emergency motion for a temporary restraining order, the appointment

of a receiver, and other relief. The SEC’s motion seeks to halt an ongoing Ponzi scheme and

offering fraud, involving Chicago real estate, that has raised more than $135 million from more than

900 investors. The Defendants raised these funds by falsely promising investors safe investments,

secured by income-producing real estate, that generated returns of 12% to 20%.

       Defendants’ scheme is on the verge of collapse, yet they continue to solicit funds from

unwitting investors. Despite recently informing prior investors that their investments are

unprofitable and that Defendants can no longer afford to repay them, Defendants continue to lure

new investors with promises of “guaranteed” returns and interest payments as high as 17%.
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       Accordingly, and for the reasons discussed below, the Court should enter a TRO to halt

Defendants’ fraud. The Court should also appoint a receiver to protect the real estate investments

and endeavor to compensate the defrauded investors.

                                         INTRODUCTION

       Since at least 2010, the Defendants have sold more than $135 million in securities to

investors throughout the United States. Defendants initially lured investors with promissory notes

offering double-digit returns secured by profitable real estate, primarily located in underdeveloped

areas on Chicago’s South Side. To the detriment of their investors, Defendants’ real estate

investment program devolved into a Ponzi scheme.

       Defendants defrauded their investors in a variety of ways. For instance, Defendants secretly

skimmed 15% to 30% off each investment by taking undisclosed fees. In many cases they did this

by telling investors the properties being purchased cost substantially more than what Defendants

actually paid for them. This meant that investors were not only overcharged, but the real estate

supposedly securing their investments was worth much less than what Defendants told them.

       Beyond the exaggerated property valuations and undisclosed fees, Defendants falsely told

investors that their impressive returns would be generated by profitable real estate. Contrary to

Defendants’ claims, Defendants sustained heavy losses and the properties they pitched to investors

failed to earn anywhere near enough to pay the double-digit returns promised to investors. As a

result, Defendants could only pay earlier investors by raising funds from unwitting new investors.

       Rather than disclosing their financial problems, to keep the scheme afloat Defendants

continued to solicit investors with promises of safe investments and outsized returns.




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         Defendants later changed their business model by offering investments in pooled investment

funds, again promising double-digit returns generated by profitable real estate. But Defendants

concealed that most of the properties supposedly being acquired with new investor proceeds were

the very same properties “securing” earlier investors’ notes. Defendants also hid that they used

significant investor funds to make Ponzi-style payments to earlier investors. As for the earlier

investors, Defendants forced them to restructure their investments by pushing back their repayment

dates, swapping their supposedly secured notes for new unsecured instruments, and by transferring

title of the properties purportedly securing the investments into LLCs owned by Defendant Jerome

Cohen.

         On the brink of their scheme collapsing, Defendants recently started coming clean about

their financial distress and inability to repay investors through revenue-producing real estate. But

Defendants limited these disclosures only to earlier investors whose interest payments Defendants

can no longer afford to make. Despite these partial disclosures, Defendants continue to raise funds

from new investors by concealing their dire financial condition while promising “guaranteed”

returns and annual interest payments as high as 17%.

         The SEC seeks to stop Defendants’ scheme. The SEC also seeks the appointment of a

receiver to remove Defendants’ control over investors’ funds, secure the real estate and other

assets obtained with investor proceeds, and ultimately recompense the defrauded investors.

                                    FACTUAL BACKGROUND

A.       The Defendants

         Equitybuild, Inc. (“Equitybuild”) is a Florida corporation with an office in Chicago.

(Declaration of Ann Tushaus, filed herewith (“Tushaus Dec.”), ¶¶ 6-7). Equitybuild owns



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Equitybuild Finance, LLC (“Equitybuild Finance”). (Id., ¶ 6). Jerome Cohen founded both

Equitybuild and Equitybuild Finance and is Equitybuild’s CEO and President. (Id., ¶ 8). His son,

Shaun Cohen, is Equitybuild’s Vice President and Equitybuild Finance’s President and sole officer.

(Id.). In these positions, Jerome and Shaun Cohen controlled Equitybuild and Equitybuild Finance,

including controlling the companies’ operations, the content of the representations made to

investors, and transactions to and from their bank accounts. (Id., ¶ 9).

        Since 2010, Equitybuild, Equitybuild Finance, Jerome Cohen and Shaun Cohen

(collectively, “Defendants”) have raised at least $135 million by selling securities to more than 900

investors throughout the United States. (Tushaus Dec., ¶ 11). None of those securities or securities

offerings was registered with the SEC. (Id., ¶ 12).

B.      Defendants Initially Offered Private Mortgage Notes to Investors

        By 2010, Defendants began offering and selling promissory notes (the “Notes”). (Tushaus

Dec., ¶ 10). The parties to the Notes were: (a) the “borrower,” who was usually Equitybuild; and (b)

the investors, each of who the Notes described as a “lender.” (Id., ¶ 16). The Notes provided for

interest rates ranging from 12% to 20%, with investors receiving higher rates for investing greater

amounts of money. (Id., ¶ 14). The terms of the Notes ranged from six to 24 months. (Id.) At the

end of the Notes’ terms, rather than receiving their principal, many investors availed themselves of

the option of rolling over their principal into a new Note. (Id., ¶ 15).

        Each Note referenced a specific property – which Equitybuild would purportedly purchase

and renovate using pooled investor funds – and represented the Note was secured by a fractional

interest in a mortgage on the identified property. (Tushaus Dec., ¶ 17). As part of the investment,

the investors assigned to Equitybuild Finance, as the “Collateral Agent,” all of their rights and



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powers under the Notes and mortgages. (Id., ¶ 18). Defendants thus structured the mortgages to be

typically between: (a) Equitybuild, an affiliate entity, or, in some cases, a third-party purchaser; and

(b) the investors “care of” Equitybuild Finance. (Id.). Jerome Cohen signed the Notes and

mortgages on behalf of Equitybuild (or its affiliates), while Shaun Cohen, having been delegated the

ability to do so by the investors, signed on behalf of Equitybuild Finance. (Id., ¶ 19).

        To solicit investments in the Notes, Defendants utilized promotional methods including

Equitybuild’s website, emails to prospective investors, a call center and salespeople, in-person

presentations, social media, and Google advertising. (Tushaus Dec., ¶ 20). Defendants also issued

and distributed to investors promotional booklets referred to as “white papers.” (Id., ¶ 21).

Defendants paid their salespeople commissions based on the amount of investments they obtained.

(Id., ¶ 22). These salespeople reported to Shaun Cohen, who instructed them to bring in at least

$50,000 in new investments each day. (Id., ¶ 23).

C.      Defendants Promoted the Notes as Profitable, Safe, and Secured by Real Estate

        Defendants’ promotional materials touted the Notes as “low risk” investments that were

secured by real estate. (Tushaus Dec., ¶ 24). For instance, one white paper describes how

“Equitybuild is ushering in a new era by making real estate investing more secure and reliable than

ever.” (Id., ¶ 26). The same white paper touts “Equitybuild’s Three Guarantees,” which included

promises that Equitybuild would compensate investors for any deficiencies in the real estate’s

operating income and declines in property values. (Id.). In another white paper, Equitybuild

Finance assured investors that if the mortgage ever goes into default, investors could simply sell

the property in a quick sale and get their money out of the investment. (Id., ¶ 27).




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       Defendants also sought to downplay the risk by describing their purportedly successful

track record. Marketing emails touted that “EquityBuild has Never Defaulted on a Loan and has

Zero Foreclosures,” and had a “perfect payment track record.” (Id., ¶ 29). Equitybuild’s website

and white papers similarly claimed it achieved “Operational Mastery” due to a “proprietary

econometric model” that successfully identifies undervalued properties. (Id., ¶ 26, 30).

       Defendants paired their assurances of low risk investments with the lure of “consistently”

delivering “double-digit returns.” (Tushaus Dec., ¶ 27). Defendants claimed “investors receive

impressive, double-digit returns that roll in month after month, regular as clockwork, but require

absolutely no ongoing effort on their part.” (Id., ¶ 26). Defendants told investors their double-digit

returns would be generated through third-party purchasers, who would use the investor-funded

mortgages to purchase the properties securing the Notes. (Id., ¶¶ 31-34). Defendants stated that

these third-party purchasers borrow on shorter terms and at higher rates than buyers using

traditional mortgages, generating “high returns that beat the stock market.” (Id., ¶ 32).

       Defendants told investors they earned their profits from the third-party buyers. To that

end, Defendants represented that Equitybuild and Equitybuild Finance retained as profits the

difference between the mortgage payments received from the third party purchasers and the

interest payments made to the Note investors. (Tushaus Dec., ¶¶ 33-34).

       Reinforcing the safety and profitability of the Notes, Defendants’ marketing emails

claimed their third-party purchasers were “qualified” borrowers with “A-grade” credit. (Tushaus

Dec., ¶ 31). Defendants also represented that the properties collateralizing the Notes would

generate “more than enough revenue to cover the borrower’s note payments as well as all of the

property’s operating expenses, and still return positive cash flow.” (Id., ¶ 35).



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D.      In Reality, Defendants Charged the Note Investors Heavy Undisclosed Fees,
        Purchased Poorly Performing Real Estate, and Began Operating a Ponzi Scheme

        Defendants concealed that they kept 15% to 30% of the Note investments as undisclosed

fees. (Tushaus Dec., ¶ 36). Defendants kept these fees hidden by telling investors that the properties

securing their Notes were worth significantly more than they actually cost. (Id., ¶ 37). Specifically,

offering memoranda provided to investors listed a “purchase price” or “sale price” for each

property that was inflated, on average, by more than 47%. (Id.). This meant Defendants

collected far more money from investors than what investors believed was necessary to acquire

the properties securing each Note. Jerome and Shaun Cohen used these secret fees to fund their

personal living expenses, and to keep the scheme going by making Ponzi-style payments to

earlier investors. (Id., ¶ 38).

        The inflated purchase prices also meant the investments were far riskier than Defendants

led investors to believe. Indeed, the Notes were not, as Defendants claimed, “fully” or “100%”

secured by real estate at the price disclosed to investors. (Tushaus Dec., ¶¶ 25, 32). Rather, the

Notes were secured, at best, by the actual and much smaller value of the properties. (Id., ¶ 37).

        Beyond the undisclosed fees, Defendants falsely represented that the properties securing

the Notes were profitable investments that generated positive cash flows. (Tushaus Dec., ¶ 35).

In reality, and unknown to investors, many of the properties securing the Notes performed quite

poorly, with monthly expenses far exceeding their revenues. (Id., ¶¶ 39-40). This meant that

few, if any, of the properties generated enough revenues to fund the investors’ interest payments.

(Id.). Investors were similarly unaware that Equitybuild’s internal financial statements showed a

net loss for 2015 of $12 million. (Id., ¶ 41).




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       Defendants also lied by telling investors that their interest payments were funded by third-

party buyers’ mortgage payments. (Tushaus Dec., ¶¶ 31-34). In reality, Equitybuild owned most

of the properties securing the Notes. (Id., ¶ 42). And by 2015, Defendants no longer even tried

to find third-party buyers. (Id.).

       The Notes offering became a Ponzi scheme, using new investor funds to pay earlier

investors. From January 2015 through February 2017, investors received approximately $14.5

million in interest payments. (Tushaus Dec., ¶ 43). During that same period, the properties

generated only $3.8 million in rental income and third party buyers’ monthly payments. (Id.).

Defendants never told investors that they were relying on fresh investor funds, rather than

income-producing properties, to finance the interest payments. (Id., ¶ 44).

       Given the poor performance of many of their properties, Defendants’ claim of having

“zero foreclosures” was also misleading. (Tushaus Dec., ¶ 29). Indeed, even in the event of a

default by the borrower, it would have been impossible for investors to foreclose. This is

because investors delegated to Equitybuild Finance all their powers under the Notes and

mortgages, including the power to foreclose. (Id., ¶ 18). And, even absent that delegation, there

was no practical way for investors to foreclose, since there were multiple investors on each

property and Defendants did not share the other investors’ contact information. (Id., ¶¶ 17, 45).

       Defendants’ claims of never defaulting on a loan similarly misled investors. Defendants

routinely extended the payback terms on investors’ Notes, often for years. (Tushaus Dec., ¶ 46).

Defendants forced investors to either agree to the extensions or be placed on a “buyout list” and wait

for Defendants to find another investor willing to buy out the original investment. (Id., ¶ 48). By

June 2018, Defendants had $3 million in investments on the buyout list. (Id.). Defendants also



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made approximately 100 investors accept unsecured promissory notes in lieu of their original

“secured” Notes. (Id., ¶ 49). Nevertheless, Defendants continued to offer securities without

disclosing that previous investors had been compelled to extend their payback terms, been placed on

the buyout list, or had their secured Notes switched to unsecured notes. (Id., ¶ 50).

       Defendants also misrepresented their histories and expertise. For instance, despite touting

their successful track record and “Operational Mastery,” Defendants failed to tell investors that

Jerome and Shaun Cohen had each previously filed for bankruptcy. (Tushaus Dec., ¶ 51). Nor did

Defendants actually employ an “econometric model” to select properties, as the offering materials

represented. (Id., ¶ 30). Unbeknownst to investors, Jerome Cohen acknowledged to SEC

investigators that the “econometric model” was merely some “back of the envelope” calculations

and that selecting real estate was not a “core competency” of Defendants. (Id., ¶ 52).

E.     Defendants Later Begin Offering Investments in Real Estate Funds

       In 2017, Jerome and Shaun Cohen began making changes to the business model they

presented to investors, by offering investments in real estate “funds.” (Tushaus Dec., ¶ 53).

Defendants have since offered a total of over $70 million in investments in at least seven different

funds. (Id., ¶ 54). Defendants told investors that these funds would pool investor proceeds to

purchase and renovate real estate, again primarily on the South Side of Chicago. (Id., ¶ 55). With

names like “Chicago Capital Fund,” and “South Side Development Fund,” Defendants continued to

promise investors double digit returns. (Id., ¶¶ 54-55). These fund offerings remain ongoing, with

one fund offering 17% returns for 24 months, and another offering 14% returns in as short as six

months. (Id., ¶¶ 56-57). One fund promises “guaranteed” returns. (Id., ¶ 56).




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       While the mechanics of the investments changed, the fraud continued. As was the case with

the Notes, the funds’ offering materials fail to disclose Defendants’ poor performance record,

precarious financial condition, or Ponzi-style payments. (Tushaus Dec., ¶¶ 58-60). Indeed, rather

than being deployed to purchase or renovate real estate, Defendants used significant amounts of fund

investor money to repay earlier Note investors. (Id., ¶¶ 58-59).

       Defendants also concealed that many of the properties supposedly being acquired with new

investor proceeds were the same properties “securing” investors’ Notes. (Tushaus Dec., ¶ 59).

Without telling the Note investors, Defendants transferred title of properties securing the Notes

to LLCs owned by Jerome Cohen. (Id.). While the offering materials list the properties the funds

intend to acquire, they fail to mention that Defendants acquired those buildings in the course of

the earlier Note offerings and that the properties supposedly served to secure the Notes. (Id.).

       While touting the funds’ profitability, the offering materials also fail to disclose

Defendants’ inability to repay earlier investors. (Tushaus Dec., ¶ 60). As of late 2017, investors

in more than 1,200 Notes had not been repaid their principal, totaling almost $75 million in

overdue payments. (Id., ¶ 47). These investors will likely remain unpaid. As of May 31, 2018,

Equitybuild and Equitybuild Finance had only $75,000 in their bank accounts. (Id., ¶ 61).

F.     Defendants’ Fraud is Ongoing

       Defendants are currently seeking to raise money by offering investments in the funds.

(Tushaus Dec., ¶ 57). Unbeknownst to prospective investors, in May and June of 2018, Defendants

disclosed to earlier Note investors that they were unable to continue making interest payments

and were in the process of unilaterally changing the terms of the Notes. (Id., ¶¶ 63-68). At that

time, Shaun Cohen emailed Note investors that Equitybuild had accumulated a “debt load that is



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not sustainable” and that continuing to pay investors “would lead to an inevitable disaster that

would put your investment at risk of significant loss.” (Id., ¶¶ 64-65). He added that Equitybuild

had “no choice but to restructure and reduce the debt burden” by unilaterally converting

investors’ Notes to equity positions in one of the funds. (Id., ¶ 65).

       On August 6, 2018, Equitybuild emailed a video recording of Shaun Cohen to Note

investors. (Tushaus Dec., ¶ 69). On the recording, Shaun Cohen: (a) states that Equitybuild’s

properties are “negatively cash flowing,” (b) acknowledges that investor interest payments have

stopped and that principal has not been returned, (c) discloses that Equitybuild had funded

investor interest payments using “fee income” from later investors, but that fees charged to later

investors could no longer satisfy the interest payments to earlier investors, (d) warns investors

not to file lawsuits against Equitybuild, (e) states that investors will not receive payments until

Equitybuild’s rental income exceeds its expenses, and (f) advises that Equitybuild was cutting

staff down to a “skeleton crew” and would not be able to respond to investor inquiries. (Id.).

       While partially coming clean to earlier investors, Defendants provide no such warning to the

unwitting investors to whom they currently offer securities. Instead, Defendants continue to raise

new funds, promising “guaranteed” returns and annual interest payments as high as 17% – all

while hiding Defendants’ severe financial problems and the fact that they told earlier investors

they could no longer make their interest payments. (Tushaus Dec., ¶¶ 56, 57, 68, 69).




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                                           ARGUMENT

I.     The Court Should Temporarily Restrain and Preliminarily Enjoin
       Defendants from Further Violations of the Federal Securities Laws

       After a “proper showing” by the SEC, a “temporary injunction or restraining order shall

be granted.” 15 U.S.C. § 77t(b); 15 U.S.C. § 78u(d). “The use of the word ‘shall’ indicates

Congress’s clear preference for preliminary injunction relief, where a credible allegation of a

violation is made.” SEC v. Bravata, 2009 WL 2245649, *4 (E.D. Mich. 2009).

       To meet this standard, the SEC must show a “justifiable basis for believing, derived from

reasonable inquiry and other credible information, that such a state of facts probably existed as

reasonably would lead the SEC to believe that the defendants were engaged in violations of the

statutes involved.” SEC v. Householder, 2002 WL 1466812, *5 (N.D. Ill. July 8, 2002)

(quotations omitted).

       Thus, to obtain a TRO or preliminary injunction, the SEC need only show “likelihood of

success as to (a) current violations and (b) a risk of repetition.” SEC v. Hollnagel, 503 F. Supp.

2d 1054, 1058 (N.D. Ill. 2007); see also SEC v. Holschuh, 694 F.2d 130, 144 (7th Cir. 1982). In

assessing likelihood of repetition, courts look to factors such “as the gravity of harm caused by the

offense; the extent of the defendant’s participation and his degree of scienter; the isolated or

recurrent nature of the infraction and the likelihood that the defendant’s customary business

activities might again involve him in such transactions.” Holschuh at 144.

        Unlike private litigants, the SEC does not need to prove the risk of irreparable injury, or

establish the unavailability of other remedies, or establish that the balance of equities favor its

position. See, e.g., SEC v. Unifund SAL, 910 F.2d 1028, 1036 (2d Cir. 1990).




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       A.      Defendants Violated the Securities Laws’ Antifraud Provisions

       Section 10(b) of the Exchange Act and Rule 10b-5 thereunder prohibit any person, in

connection with the purchase or sale of any security, from, directly or indirectly: (1) employing

any device, scheme or artifice to defraud; (2) making an untrue statement of material fact or

omitting to state a material fact necessary in order to make the statements made, in the light of

the circumstances under which they were made, not misleading; or (3) engaging in any act,

practice, or course of business that operates as a fraud or deceit upon any person. 15 U.S.C. §

78j(b); 17 C.F.R. § 240.10b-5. Section 17(a) of the Securities Act prohibits the same conduct in

the offer or sale of a security. 15 U.S.C. § 77q(a); SEC v. Ustian, 229 F. Supp. 3d 739, 764 (N.D.

Ill. 2017) (“Courts use ‘identical’ standards for determining liability under §§ 17(a) and 10(b)”).



       To establish a violation the SEC must show that defendant “(1) made a misstatement or

omission (2) of material fact (3) with scienter (4) in connection with the purchase or sale of

securities.” Ustian at 764-65 (citations omitted); see also McConville v. SEC, 465 F.3d 780, 786

(7th Cir. 2006). A misstatement/omission is material if there is “substantial likelihood [that it]

would have been viewed by the reasonable investor as having significantly altered the ‘total mix’

of information made available.” The SEC may additionally prove a 10(b) violation by

establishing a defendant engaged in a fraudulent scheme. Ustian at 774. Moreover, unlike the

Section 10(b) and 17(a)(1) charges, the Section 17(a)(2) and (3) claims do not require a showing

of scienter, and can be proven by a showing of negligence. Aaron v. SEC, 446 U.S. 680, 695-96

(1980); Ustian, 229 F. Supp. 3d at 765.




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       Here, Defendants violated the antifraud provisions in a variety of ways. They took

undisclosed fees of 15% to 30%. They inflated the value of the properties supposedly securing

the Notes by an average of more than 47%. They touted the profitability of the real estate but

concealed their financial problems and the fact that the properties could not support the double-

digit returns promised to investors. And they operated a Ponzi scheme by using new investor

money to repay earlier investors. Any reasonable investor would consider these facts material.

       Defendants acted with scienter. They knew they were taking undisclosed fees and using

new investor money to repay earlier investors, yet they provided investors the offering materials

containing the misstatements and omissions described above. Shaun Cohen’s scienter is perhaps

best evidenced by his recent admissions to earlier investors who are no longer being paid. Yet

he hides these facts from the prospective investors Defendants currently lure with promises of

“guaranteed” double digit returns. And Jerome Cohen’s scienter is shown by the stark lesson he

sought to impart to son: “always, if possible, use other people’s money.” (Tushaus Dec., ¶ 70).

       B.      Defendants Violated the Securities Laws’ Registration Provisions

       Under Section 5(a) of the Securities Act, it is unlawful for any person, directly or

indirectly, to sell securities through the use of any means or instrumentalities of transportation or

communication in interstate commerce or of the mails unless the transaction is the subject of an

effective registration statement. 15 U.S.C. § 77e(a). Section 5(c) provides a similar prohibition

for offers to sell a security unless a registration statement has been filed. 15 U.S.C. § 77e(c).

       “A prima facie violation of Section 5 arises if it is established that the defendant directly

or indirectly sold or offered to sell securities, there was no registration statement in effect as to

the securities, and the sale was made through interstate facilities or the mails.” SEC v. Randy, 38



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F. Supp. 2d 657, 667 (N.D. Ill. 1999). Once the SEC establishes a prima facie violation, the

defendant assumes the burden of proving that the securities qualify for a registration exemption.

Id.; SEC v. Ralston-Purina Co., 346 U.S. 119, 126 (1953). Scienter is not required to prove a

violation of Section 5. SEC v. Calvo, 378 F.3d 1211, 1215 (11th Cir. 2004); SEC v. Softpoint,

Inc., 958 F. Supp. 846, 859-60 (S.D.N.Y. 1997), aff’d, 159 F.3d 1348 (2d Cir. 1998).

       Here, Defendants offered and sold securities to hundreds of investors throughout the

United States, yet did not register those securities or offerings. (Tushaus Dec., ¶¶ 11-12).

Accordingly, the SEC has made a prima facie showing that Defendants violated Section 5.

       C.      Absent Injunctive Relief, Defendants’ Violations Will Continue

       Having established Defendants violated the securities laws, to obtain an injunction the

SEC “need only show that there is a reasonable likelihood of future violations.” Holschuh, 694

F.2d at 144. Here, each of the Holschuh factors used to assess that likelihood support the

imposition of a TRO and preliminary injunction against violations of the securities laws. Id.

       As discussed above, Defendants acted with a high degree of scienter. And the gravity of

harm caused by their fraud was profound. As of late 2017, Defendants owed investors on 1,200

Notes more than $75 million. (Tushaus Dec., ¶ 47). Given Defendants’ precarious finances, the

prospect of repayment for these investors – let alone more recent investors – is slim. Jerome and

Shaun Cohen were the central players in the scheme, and controlled the entities used to defraud

investors. Defendants’ violations have gone unabated for many years, and will continue to do so

absent an injunction. Indeed, by virtue of Defendants’ customary business activities, their

fraudulent securities offering remains ongoing. Rather than recognize their own culpability or

provide assurances against future violations, Defendants currently prey on unwitting investors.



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        D.     A Conduct Based Injunction is Necessary to Protect the Public

        The SEC also seeks a TRO and preliminary injunction enjoining Defendants from

soliciting new investors or accepting additional funds from existing investors. In similar SEC

enforcement actions involving offering frauds, courts have entered conduct-based injunctions

similar to the one the SEC is requesting here. See, e.g., SEC v. Veros Partners, Case No. 15-cv-

659, Docket No. 12 (S.D. Ind. Apr. 23, 2015); SEC v. Borland, Case No. 18-cv-4352, Docket

No. 7 (S.D.N.Y. May 16, 2018); SEC v. Liu, 2016 WL 3679389, *2 (C.D. Cal. July 11, 2016);

SEC v. Holzhueter, Case No. 15-cv-45, Docket No. 20 (W.D. Wis. Jan. 28, 2015); SEC v.

Johnson, Case No. 15-cv-299, Docket No. 10 (D. Colo. Feb. 12, 2015). A conduct-based

injunction is likewise needed here to explicitly prevent Defendants from selling securities to new

investors who would almost certainly sustain the total loss of their investment.

II.     The Court Should Appoint a Receiver and Impose Other Ancillary Relief

        A.     A Receiver is Necessary and Appropriate

        The Court should appoint a receiver over Defendants. Courts regularly appoint receivers

to manage corporate assets when there has been fraud and mismanagement and a receiver is

necessary to identify, marshal, preserve, and protect the assets. SEC v. Enter. Trust Co., 559

F.3d 649, 650 (7th Cir. 2009); SEC v. Homa, 514 F.3d 661, 665 (7th Cir. 2008); SEC v. Keller

Corp., 323 F.2d 397, 403 (7th Cir. 1963); SEC v. Goyal, Case No. 14-cv-3900, Docket No. 17

(N.D. Ill. June 6, 2014); SEC v. Hollinger Int’l, Inc., 2004 WL 1125904, *7 (N.D. Ill. May 19,

2004). As the Seventh Circuit held in affirming a receiver’s appointment:

        The prima facie showing of fraud and mismanagement, absent insolvency, is
        enough to call into play the equitable powers of the court. It is hardly conceivable
        that the trial court should have permitted those who were enjoined from fraudulent
        misconduct to continue in control of [the corporate defendant’s] affairs for the


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       benefit of those shown to have been defrauded. In such cases the appointment of a
       trustee-receiver becomes a necessary implementation of injunctive relief.

Keller Corp. at 403.

       It is also appropriate to appoint a receiver over the assets of an individual defendant, to

marshal fraudulently obtained investor proceeds controlled by the defendant. See, e.g., SEC v.

Goyal, Docket No. 17; SEC v. Huber, Case No. 09-cv-6068 (N.D. Ill.) Docket No. 22; SEC v.

Roth, Case No. 11-cv-2079 (C.D. Ill.), Docket No. 31; SEC v. Beckman, 2011 U.S. Dist. LEXIS

23187 (D. Minn. Mar. 8, 2011).

       This case calls out for the appointment of a receiver. Defendants raised more than $135

million by defrauding investors in a real estate investment scheme. A receiver is necessary to

marshal and preserve assets to allow for the maximum possible recovery for investors. The SEC

believes that significant assets exist that could be used to satisfy Defendants’ disgorgement

obligations and fund an eventual distribution to investors, most notably the large portfolio of

Chicago real estate Defendants accumulated using investor funds. In light of their misconduct,

Defendants cannot be trusted to continue to manage these properties or to liquidate them or other

assets for their victims’ benefit. The timely imposition of a receiver is necessary to secure and

inventory Defendants’ assets to ensure the maximum recovery for the defrauded investors.

       The SEC recommends the Court appoint Kevin B. Duff as receiver in this matter. Mr.

Duff is a partner at Rachlis, Duff, Adler, Peel & Kaplan, a Chicago-based commercial litigation

firm with substantial experience in real-estate matters. He is the President-Elect and a director of

the National Association of Federal Equity Receivers. He has ably served as the receiver in two

other Ponzi scheme cases in this district: SEC v. Goyal and SEC v. Huber. He also served as the

receiver for another civil matter in this district involving allegations of securities fraud,


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Friedhopfer v. Dachman, No. 10-cv-6162. In these receiverships, Mr. Duff and his firm have

demonstrated an ability to efficiently and effectively locate and liquidate assets for the benefit of

investor-victims. Per Mr. Duff’s proposal, he will engage the services of his law firm, which is

willing to provide services in connection with its engagement at reduced rates which the SEC

considers to be reasonable under the circumstances.

       B.      If the Court Does Not Appoint a Receiver, an Asset Freeze is Necessary

       The SEC believes the appointment of a receiver over Defendants would obviate the need

for an asset freeze order, which courts often impose to prevent waste and dissipation of assets

and to ensure the availability of funds for restitution and disgorgement. See, e.g., SEC v. Manor

Nursing Centers, Inc., 458 F.2d 1082, 1104-06 (2d Cir. 1972); see also SEC v. Infinity Grp. Co.,

212 F.3d 180, 197 (3d Cir. 2000) (the purpose of a freeze is to “preserve the status quo by

preventing dissipation and diversion of assets.”); CFTC v. Kimberlynn Creek Ranch, Inc., 276

F.3d 187 (4th Cir. 2002).1

       However, should the Court decline to appoint a receiver, it should freeze Defendants’

assets. Absent the appointment of a receiver over all of Defendants’ assets, a freeze is necessary

to prevent Defendants’ further dissipation of assets that could be used to compensate their

victims. Such dissipation of assets is not speculative. Defendants have already done so by

transferring title of properties securing the Notes to LLCs owned by Jerome Cohen, and are

currently attempting to sell or encumber the properties they purchased with the proceeds of their

fraud. (Tushaus Dec., ¶¶ 59, 69). Faced with the prospects of a defendant dissipating assets,



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  Courts recognize that a disgorgement order for ill-gotten gains – like the one sought in this
case – will often be rendered meaningless unless an asset freeze is imposed before the entry of


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courts in this district, at the TRO stage, have regularly imposed asset freezes. See, e.g., SEC v.

Davis, Case No. 17-cv-9224, Docket No. 13 (N.D. Ill. Dec. 22, 2017); SEC v. Garcia, Case No.

10-cv-5268, Docket No. 11 (N.D. Ill. Aug. 20, 2010); SEC v. All Know Holdings, Ltd., Case No.

11-cv-8605, Docket No. 12 (N.D. Ill. Dec. 5, 2011); SEC v. Rungruangnavarat, Case No. 13-cv-

4172, Docket No. 9 (N.D. Ill. June 5, 2013).

       The standards for ordering an asset freeze are less strict than for imposing other

injunctive relief. To obtain an asset freeze, the SEC must establish only that it is likely to

succeed on the merits, and need not show risk of irreparable injury (unlike a private litigant) or

likelihood of a future violation. SEC v. Cavanagh, 155 F.3d 129, 132, 136 (2d Cir. 1998). As

discussed above, the SEC has demonstrated both that Defendants have violated the securities

laws and are likely to continue doing should the Court not intervene.

       C.      The Court Should Order an Accounting

       The equitable remedy of a sworn accounting is frequently imposed to provide an accurate

measure of unjust enrichment and a defendant’s current financial resources. See, e.g., Manor

Nursing Ctrs., 458 F.2d at 1105; Householder, 2002 WL 1466812 at *8; SEC v. Quan, 2011 WL

1667985, *9 (D. Minn. May 3, 2011); SEC v. Oxford Capital Sec., Inc., 794 F. Supp. 104, 105-

06 (S.D.N.Y. 1992). A prompt and complete accounting will assist in determining what assets

remain and where they are located. Thus, an accounting remedy is needed here to determine the

disposition of funds that Defendants misappropriated through their fraudulent conduct and the

assets available to satisfy any final judgment the Court might enter against each Defendant.




final judgment. See, e.g., Int’l Controls Corp. v. Vesco, 490 F.2d 1334, 1347 (2d Cir. 1974); see
also SEC v. Gen. Refractories Co., 400 F. Supp. 1248, 1259 (D.D.C. 1975).


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       D.      The Court Should Enter a Document Preservation Order and Allow for
               Expedited Discovery

       Finally, the SEC seeks an order preventing the alteration or destruction of documents and

other potential evidence. A document preservation order would protect the integrity of the

proceeding and promote the truth-seeking function of litigation. See, e.g., SEC v. ABS Manager,

LLC, 2013 WL 1164413, at *4 (S.D. Cal. Mar. 20, 2013) (granting motion prohibiting the

destruction and requiring the preservation of documents); SEC v. Rungruangnavarat, Case No.

13-cv-4172, Docket No. 9 (N.D. Ill. June 5, 2013) (same). The Court should likewise authorize

expedited discovery under Fed. R. Civ. P. 30(a), 33(a) and 34(b), to allow the SEC to

supplement its motion for a preliminary injunction. See Rungruangnavarat, Docket No. 9, at 7.

Expedited discovery enables the SEC to act quickly to obtain bank and other records necessary

to identify and preserve investor assets. Expedited discovery will also facilitate the presentation

of a more complete evidentiary record and sharpen and focus the issues that must be decided by

the Court at the preliminary injunction hearing.

                                         CONCLUSION

       For the above reasons, the SEC respectfully requests that the Court issue a temporary

restraining order and conduct-based injunction, appoint a receiver (or in the alternative, freeze

Defendants’ assets), order an accounting, direct the preservation of documents and allow

expedited discovery, and grant such other ancillary relief as the Court deems just and proper.




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                                             Respectfully Submitted,

Dated: August 15, 2018                        /s/ Benjamin J. Hanauer      _
                                             Benjamin J. Hanauer (hanauerb@sec.gov)
                                             Ariella Guardi (guardia@sec.gov)
                                             Timothy J. Stockwell (stockwellt@sec.gov)
                                             175 West Jackson Blvd., Suite 1450
                                             Chicago, IL 60604
                                             Phone: (312) 353-7390
                                             Facsimile: (312) 353-7398
                                             Attorneys for Plaintiff
                                             U.S. Securities and Exchange Commission




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